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IN THE UNITED sTATEs DIs'rRIc'r coURT Hi'“U" w-~-~-'JC
FoR THE wEsTERN DIsTRIcT oF TENNESSEE \
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Robin Gordon, ‘N'n W”TN.MEMPNS

Plaintiff,
vs. No. 04~2572-Ma/v

Gordon R. England, et al.,

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Defendants.

 

-SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held.
Participating were Javier M. Bailey, counsel for plaintiff, and
Linda N. Harris, counsel for defendants. At the conference, the
following dates were established as the final dates for:

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a)(1): June 2, 2005
JOINING PARTIES: July 19, 2005
AMENDING PLEADINGS: July 19, 2005
INITIAL MOTIONS TO DISMISS: A'ng'llst 19, 2005
COMPLETING ALL DISCOVERY: January 13, 2006
(a) DOCUMENT PRODUCTION: January 13, 2006

(b) DE?OSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: January 13, 2006

(C) EXPERT WITNESS DISCLOSURE (Rule 26):

(1) DISCLOSURE OF PLAINTIFF'S RULE 25 EXPERT
INFORMATION: November 11Ir 2005

This document entered en the docket heat 'n compliance
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(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: December 13, 2005

(3) EXPERT WITNESS DEPOSITIONS: January 13, 2006
FILING DISPOSITIVE MOTIONS: February 23, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. .All. motions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good cause shown, or the objection to the default, response,
answer, or objection shall be waived.

This case is set for jury trial, and the trial is expected to
last 1 - 2 day(s). The pretrial order date, pretrial conference
date, and trial date will be set by the presiding judge.

This case is appropriate for ADR. The parties are directed to
engage in court»annexed attorney mediation or private mediation
after the close of discovery.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

The parties have not consented to trial before the magistrate
judge.

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This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or
extended.

IT IS SO ORDERED.

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DIANE K. vEscovo
UNITED s'r Es MAGISTRATE .J'UBGE
DATE: ny / 71 cQME>

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Notice of Distribution

This notice confirms a copy cf the document docketed as number 7 in
case 2:04-CV-02572 Was distributed by faX, mail, or direct printing on
May ]9, 2005 tc the parties listed.

 

 

Javier M. Bailey

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Honcrable Samuel Mays
US DISTRICT COURT

